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                              Exhibit A
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 Robert Bevis, et al.,
                                                       Case No. 1:22-cv-04775
                          Plaintiffs,

            v.
                                                       Honorable Virginia M. Kendall
 CITY OF NAPERVILLE, ILLINOIS, and
 JASON ARRES,

                          Defendant.


 DECLARATION OF CHRISTOPHER B. WILSON IN SUPPORT OF NAPERVILLE’S
   RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR TEMPORARY
         RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       I, Christopher B. Wilson, declare under penalty of perjury as follows:

       1.        I am an attorney at Perkins Coie LLP. I am the attorney for Defendant, City of

Naperville, in the above-captioned action and am fully familiar with all the facts and circumstances

of the instant matter.

       2.        Attached hereto as Exhibit B is a true and correct copy of Ordinance No. 22 - 099,

adding Chapter 19, “Regulation of the Commercial Sale of Assault Rifles,” to Title 3 of the City

of Naperville’s Municipal Code.

       3.        Attached hereto as Exhibit C is a true and correct copy of the Protect Illinois

Communities Act, House Bill 5471 (“HB5471”).

       4.        Attached hereto as Exhibit D is the Declaration of Phil Andrew filed by the City of

Highland Park as ECF 45-3 in Goldman v. City of Highland Park, Case No. 1:22-cv-04774 (N. D.

Ill.) on January 19, 2023.

       5.        Attached hereto as Exhibit E is the Declaration of Ryan Busse filed by the City of

Highland Park as ECF 45-4 in Goldman v. City of Highland Park, Case No. 1:22-cv-04774 (N. D.

Ill.) on January 19, 2023.
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       6.      Attached hereto as Exhibit F is the Declaration of Stephen Hargarten filed by the

City of Highland Park as ECF 45-5 in Goldman v. City of Highland Park, Case No. 1:22-cv-04774

(N. D. Ill.) on January 19, 2023.

       7.      Attached hereto as Exhibit G is the Declaration of Louis Klarevas filed by the City

of Highland Park as ECF 45-6 in Goldman v. City of Highland Park, Case No. 1:22-cv-04774 (N.

D. Ill.) on January 19, 2023.

       8.      Attached hereto as Exhibit H is the Declaration of Randolph Roth filed by the City

of Highland Park as ECF 45-7 in Goldman v. City of Highland Park, Case No. 1:22-cv-04774 (N.

D. Ill.) on January 19, 2023.

       9.      Attached hereto as Exhibit I is the Declaration of Martin Schreiber filed by the City

of Highland Park as ECF 45-8 in Goldman v. City of Highland Park, Case No. 1:22-cv-04774 (N.

D. Ill.) on January 19, 2023.

       10.     Attached hereto as Exhibit J is the Declaration of Robert Spitzer filed by the City

of Highland Park as ECF 45-9 in Goldman v. City of Highland Park, Case No. 1:22-cv-04774 (N.

D. Ill.) on January 19, 2023.

       11.     Attached hereto as Exhibit K is the Declaration of Saul Cornell filed by the

California Attorney Ein Miller v. Bonta, Case No. 3:19-cv-01537-BEN-JLB (S.D. Cal.) on

October 13, 2022.

       12.     Attached hereto as Exhibit L is a chart documenting mass shootings with the most

deaths in recent years. This chart was included in Naperville’s Supplemental Brief In Opposition

to Plaintiffs’ previously filed Motion For Temporary Restraining Order And Preliminary

Injunction.

       13.     Naperville intends to retain the authors of Exhibit B-G or other witnesses with

similar expertise) as expert witnesses in this case, but were unable to do so in time for such experts

to execute declarations. Naperville attaches relevant expert declarations from these prior cases to

demonstrate the likelihood of factual issues for the Court to consider on the merits. .

       I declare under penalty of perjury that the foregoing is true and correct.


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     EXECUTED at Chicago, Illinois, on January 30th, 2023.


Dated: January 30, 2022                     By: s/ Christopher B. Wilson
                                                Christopher B. Wilson, Bar No. 06202139
                                                CWilson@perkinscoie.com
                                                PERKINS COIE LLP
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                                 CERTIFICATE OF SERVICE

       I, Christopher B. Wilson, certify that on January 30, 2023, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following attorneys of record.


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Attorneys for Plaintiffs
       I certify under penalty of perjury that the foregoing is true and correct.

       DATED this 30th day of January.



                                                    s/ Christopher B. Wilson
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